                  So Ordered.

Dated: November 6th, 2019
    1

    2

    3

    4

    5

    6

    7

    8

    9

   10

   11
                           UNITED STATES BANKRUPTCY COURT
   12                      EASTERN DISTRICT OF WASHINGTON
   13

   14
        In Re:
   15
        TAMARACK AEORSPACE GROUP, Bankruptcy No. 19-01492-FPC11
   16   INC., a Washington Corporation
   17
                                       U.S. District Ct. No. 19-00373-RMP
                               Debtor.
   18

   19   ERICA DAVIS, as P.R. OF THE                ORDER DESIGNATING VENUE
   20   ESTATE OF ANDREW DALE                      FOR WRONGFUL DEATH CLAIMS
   21
        DAVIS; JAMES JOHNSON &                     PURSUANT TO 28 U.S.C. §
        BRADLEY HERMAN,                            157(b)(5)
   22
        INDIVIDUALLY and AS
   23   INDEPENDENT CO-
   24   ADMINISTRATORS OF THE
        ESTATE OF SANDRA JOHNSON;
   25
        and MICHAEL M. MASCHMEYER, as
   26   P.R. OF THE ESTATE OF R. WAYNE
   27   ESTOPINAL, DECEASED,
   28
                                 Movants.


        ORDER DESIGNATING VENUE FOR
        WRONGFUL DEATH CLAIMS
        PURSUANT TO 28 U.S.C. § 157(b)(5)- 1       422 W. Riverside Avenue, Suite 1100   Phone: 509.624.5265
        {S1920221; 1 }                             Spokane, Washington 99201-0300        Fax: 509.458.2728




         19-01492-FPC11     Doc 147   Filed 11/06/19   Entered 11/06/19 11:15:38                   Pg 1 of 3
1
              THIS MATTER having come before the court on the Motion for Order
2

3
     Pursuant to 28 U.S.C. § 157(b)(5) [ECF No. 120 ], filed by Erica Davis, as
4
     Personal Representative of the Estate of Andrew Dale Davis; James Johnson &
5

6    Bradley Herman, Individually & as Independent Co Administrators of the Estate
7
     of Sandra Johnson; and Michael M. Maschmeyer, as Personal Representative of
8

9    the Estate of R. Wayne Estopinal, Deceased (collectively, the “Movants”)
10
     requesting this court designate venue as the United States District Court for the
11

12   Eastern District of Washington for trying the Movants’ wrongful death claims
13

14
     against debtor, Tamarack.
15
              Having considered the Motion, the records and files herein, and the
16

17
     applicable statutes, the court finds good cause exists to grant the Motion.
18
     Therefore,
19

20            IT IS ORDERED, that pursuant to 28 U.S.C. §§ 157(b)(5), (d), the Motion
21
     is Granted and the United States District Court for the Eastern District of
22

23   Washington is designated the proper venue for trying the wrongful death claims
24
     against Tamarack Aerospace Group, Inc arising from the deaths of Andrew
25

26   Davis, R. Wayne Estopinal, and Sandra Johnson.
27

28
                                     /// End of Order ///



     ORDER DESIGNATING VENUE FOR
     WRONGFUL DEATH CLAIMS
     PURSUANT TO 28 U.S.C. § 157(b)(5)- 2        422 W. Riverside Avenue, Suite 1100   Phone: 509.624.5265
     {S1920221; 1 }                              Spokane, Washington 99201-0300        Fax: 509.458.2728




      19-01492-FPC11      Doc 147   Filed 11/06/19   Entered 11/06/19 11:15:38                   Pg 2 of 3
1

2

3
     Presented by:
4
     WITHERSPOON • KELLEY
5

6

7
      /s/ Pamela D. Combo
     Pamela D. Combo, WSBA #53012
8
     422 W. Riverside Avenue, Suite 1100
9    Spokane, WA 99201
10   Phone: (509) 624-5265
     Facsimile: (509) 458-2728
11
     pdc@witherspoonkelley.com
12   Attorneys for Erica Davis, as
13   Personal Representative of The
14
     Estate of Andrew Dale Davis; James
     Johnson & Bradley Herman,
15
     Individually & as Independent Co
16   administrators of the Estate of
17
     Sandra Johnson; and Michael M.
     Maschmeyer, as Personal
18
     Representative of The Estate of R.
19   Wayne Estopinal
20

21

22

23

24

25

26

27

28




     ORDER DESIGNATING VENUE FOR
     WRONGFUL DEATH CLAIMS
     PURSUANT TO 28 U.S.C. § 157(b)(5)- 3       422 W. Riverside Avenue, Suite 1100   Phone: 509.624.5265
     {S1920221; 1 }                             Spokane, Washington 99201-0300        Fax: 509.458.2728




      19-01492-FPC11    Doc 147    Filed 11/06/19   Entered 11/06/19 11:15:38                   Pg 3 of 3
